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                                     of 4



                    DEFENDANTS' EXHIBIT A
         Case 1:22-cv-00925-PLM-PJG ECF No. 113-2, PageID.706                                 Filed 06/09/25         Page 2
                                Michigan Department
                                               of 4 of Corrections
                                  Offender Management System
                                           Misconduct Summary Report

Offender Num: 369273      Offender Name: SMITH, IKEIE                                                       Location: ICF

MCR    Violation          Misconduct Charge Code                        Verdict/   Reduced/     Hearing        Hearing Hearing
No.    Date/Time                                                        Finding    Elevated     Date           Location Officer

102    05/03/2025/23:11   055 - Sexual Misconduct: Exposure             Guilty     Neither      5/21/2025      ICF          059
100    01/21/2025/12:45   055 - Sexual Misconduct: Exposure             Guilty     Neither      2/11/2025      ICF          083
99     10/19/2024/06:00   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      10/31/2024     AMF          040
                          Sexual Nature
98     10/11/2024/15:07   012 - Threatening Behavior                    Guilty     Neither      10/17/2024     AMF          040
97     08/21/2024/07:09   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      9/5/2024       AMF          040
                          Sexual Nature
96     06/23/2024/08:29   055 - Sexual Misconduct: Exposure             Guilty     Neither      7/11/2024      AMF          040
95     03/17/2024/22:08   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      4/4/2024       AMF          040
                          Sexual Nature
94     03/17/2024/08:30   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      3/25/2024      AMF          040
                          Sexual Nature
92     02/09/2024/18:45   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      3/4/2024       AMF          040
                          Sexual Nature
91     12/22/2023/00:26   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      1/18/2024      AMF          040
                          Sexual Nature
90     12/07/2023/00:28   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      12/28/2023     AMF          040
                          Sexual Nature
89     11/26/2023/09:28   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      12/14/2023     AMF          040
                          Sexual Nature
88     11/20/2023/10:25   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      12/11/2023     AMF          040
                          Sexual Nature
87     11/07/2023/08:50   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      11/16/2023     AMF          040
                          Sexual Nature
86     10/19/2023/09:53   012 - Threatening Behavior                    Guilty     Neither      10/30/2023     AMF          040
85     10/07/2023/07:55   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      10/23/2023     AMF          040
                          Sexual Nature
84     09/20/2023/22:25   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      9/25/2023      AMF          040
                          Sexual Nature
83     07/01/2023/08:30   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      7/17/2023      AMF          040
                          Sexual Nature
82     06/22/2023/09:58   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      7/3/2023       AMF          040
                          Sexual Nature
81     06/01/2023/08:06   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      6/20/2023      AMF          040
                          Sexual Nature
80     05/24/2023/13:53   426 - INSOLENCE                               Guilty     Neither      5/25/2023      AMF          099
79     04/15/2023/06:50   055 - Sexual Misconduct: Exposure             Guilty     Neither      4/20/2023      AMF          040
78     04/15/2023/05:40   055 - Sexual Misconduct: Exposure             Guilty     Neither      4/20/2023      AMF          040
77     04/15/2023/00:57   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      4/20/2023      AMF          040
                          Sexual Nature
76     12/08/2022/04:20   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      12/15/2022     AMF          040
                          Sexual Nature
75     11/19/2022/07:50   055 - Sexual Misconduct: Exposure             Guilty     Neither      11/23/2022     AMF          072
74     11/18/2022/08:20   055 - Sexual Misconduct: Exposure             Guilty     Neither      11/23/2022     AMF          072
73     10/28/2022/22:00   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      11/1/2022      AMF          040
                          Sexual Nature
72     10/27/2022/07:25   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      11/1/2022      AMF          040
                          Sexual Nature
71     10/04/2022/02:14   057 - Sexual Misconduct: Words/Actions Of A   Guilty     Neither      10/10/2022     AMF          040
                          Sexual Nature
70     10/01/2022/00:09   012 - Threatening Behavior                    Guilty     Neither      10/10/2022     AMF          040

Offender Num: 369273
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MCR
         Case 1:22-cv-00925-PLM-PJG
       Violation     Misconduct Charge Code
                                            ECF No. 113-2,  PageID.707
                                                         Verdict/ Reduced/
                                                                           Filed 06/09/25
                                                                              Hearing
                                                                                              Page 3
                                                                                        Hearing Hearing
No.    Date/Time                                    of 4 Finding Elevated     Date      Location Officer

70     10/01/2022/00:09   427 - DESTRUCTION/MISUSE PROPERTY             Guilty   Neither   10/10/2022   AMF       040
69     09/26/2022/04:45   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   10/3/2022    AMF       040
                          Sexual Nature
68     09/26/2022/03:55   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   10/3/2022    AMF       040
                          Sexual Nature
67     09/26/2022/02:40   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   10/3/2022    AMF       040
                          Sexual Nature
66     09/17/2022/11:45   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   9/26/2022    AMF       040
                          Sexual Nature
65     08/17/2022/22:06   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   9/1/2022     AMF       040
                          Sexual Nature
64     08/04/2022/16:24   012 - Threatening Behavior                    Guilty   Neither   9/1/2022     AMF       040
63     08/02/2022/16:39   426 - INSOLENCE                               Guilty   Neither   8/9/2022     AMF       099
62     07/31/2022/10:21   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   8/5/2022     AMF       040
                          Sexual Nature
61     07/14/2022/00:03   055 - Sexual Misconduct: Exposure             Guilty   Neither   7/25/2022    AMF       040
60     07/10/2022/15:15   055 - Sexual Misconduct: Exposure             Guilty   Neither   7/25/2022    AMF       040
59     07/06/2022/21:42   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   7/25/2022    AMF       040
                          Sexual Nature
                          420 - DISOBEYING A DIRECT ORDER               Guilty   Neither
58     07/14/2022/16:43   055 - Sexual Misconduct: Exposure             Guilty   Neither   7/25/2022    AMF       040
57     07/06/2022/22:30   427 - DESTRUCTION/MISUSE PROPERTY             Guilty   Neither   7/12/2022    AMF       099
56     06/28/2022/20:15   012 - Threatening Behavior                    Guilty   Neither   7/7/2022     AMF       040
54     06/28/2022/19:50   420 - DISOBEYING A DIRECT ORDER               Guilty   Neither   7/6/2022     AMF       099
53     06/27/2022/21:05   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   6/30/2022    AMF       040
                          Sexual Nature
52     06/26/2022/22:25   012 - Threatening Behavior                    Guilty   Neither   6/30/2022    AMF       040
                          057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither
                          Sexual Nature
51     06/26/2022/15:50   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   6/30/2022    AMF       040
                          Sexual Nature
50     06/18/2022/11:31   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   6/30/2022    AMF       040
                          Sexual Nature
49     06/05/2022/12:28   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   6/16/2022    AMF       040
                          Sexual Nature
48     06/08/2022/19:05   427 - DESTRUCTION/MISUSE PROPERTY             Guilty   Neither   6/14/2022    AMF       099
47     05/17/2022/00:53   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/23/2022    AMF       040
                          Sexual Nature
46     05/11/2022/12:52   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/19/2022    AMF       040
                          Sexual Nature
45     05/08/2022/05:35   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/12/2022    AMF       040
                          Sexual Nature
44     05/08/2022/04:45   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/12/2022    AMF       040
                          Sexual Nature
43     05/08/2022/00:28   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/12/2022    AMF       040
                          Sexual Nature
42     04/29/2022/21:33   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   5/5/2022     AMF       040
                          Sexual Nature
41     02/28/2022/07:00   055 - Sexual Misconduct: Exposure             Guilty   Neither   3/7/2022     SLF       074
40     01/31/2022/19:00   055 - Sexual Misconduct: Exposure             Guilty   Neither   2/4/2022     SLF       072
39     01/15/2022/19:34   055 - Sexual Misconduct: Exposure             Guilty   Neither   2/3/2022     SLF       040
38     12/30/2021/07:40   055 - Sexual Misconduct: Exposure             Guilty   Neither   1/7/2022     SLF       074
37     12/19/2021/07:55   055 - Sexual Misconduct: Exposure             Guilty   Neither   12/27/2021   SLF       074
36     09/09/2021/08:39   057 - Sexual Misconduct: Words/Actions Of A   Guilty   Neither   9/29/2021    SLF       074
                          Sexual Nature
35     09/21/2021/19:45   055 - Sexual Misconduct: Exposure             Guilty   Neither   10/7/2021    SLF       071
34     09/03/2021/07:50   055 - Sexual Misconduct: Exposure             Guilty   Neither   9/7/2021     RMI       053

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MCR
         Case 1:22-cv-00925-PLM-PJG
       Violation     Misconduct Charge Code
                                            ECF No. 113-2,  PageID.708
                                                         Verdict/ Reduced/
                                                                           Filed 06/09/25
                                                                              Hearing
                                                                                              Page 4
                                                                                        Hearing Hearing
No.    Date/Time                                    of 4 Finding Elevated     Date      Location Officer

33     08/19/2021/19:25   055 - Sexual Misconduct: Exposure               Guilty   Neither    8/31/2021    RMI       053
32     08/18/2021/14:47   055 - Sexual Misconduct: Exposure               Guilty   Neither    8/24/2021    RMI       053
31     08/18/2021/11:00   055 - Sexual Misconduct: Exposure               Guilty   Neither    8/24/2021    RMI       053
29     07/29/2021/00:59   055 - Sexual Misconduct: Exposure               Guilty   Neither    7/29/2021    RMI       053
28     07/28/2021/22:27   055 - Sexual Misconduct: Exposure               Guilty   Neither    8/3/2021     RMI       053
27     07/20/2021/19:29   055 - Sexual Misconduct: Exposure               Guilty   Neither    7/27/2021    RMI       053
26     07/21/2021/18:35   423 - INTERFERENCE WITH THE ADMIN OF            Guilty   Neither    7/22/2021    RMI       099
                          RULES
                          436 - OUT OF PLACE                              Guilty   Neither
25     06/22/2021/20:07   055 - Sexual Misconduct: Exposure               Guilty   Neither    6/28/2021    IBC       053
24     06/11/2021/08:10   055 - Sexual Misconduct: Exposure               Guilty   Neither    6/21/2021    IBC       053
22     06/02/2021/07:48   055 - Sexual Misconduct: Exposure               Guilty   Neither    6/11/2021    IBC       053
20     12/20/2020/22:15   055 - Sexual Misconduct: Exposure               Guilty   Neither    12/28/2020   IBC       053
19     12/20/2020/00:04   055 - Sexual Misconduct: Exposure               Guilty   Neither    12/28/2020   IBC       053
18     12/17/2020/15:00   020 - Disobeying A Direct Order (DDO)           Guilty   Elevated   12/28/2020   IBC       053
17     12/01/2020/08:25   055 - Sexual Misconduct: Exposure               Guilty   Neither    12/21/2020   IBC       053
16     08/05/2020/15:22   057 - Sexual Misconduct: Words/Actions Of A     Guilty   Neither    8/14/2020    IBC       053
                          Sexual Nature
15     07/15/2020/23:57   055 - Sexual Misconduct: Exposure               Guilty   Neither    7/22/2020    IBC       053
14     03/26/2020/18:50   014 - Fighting                                  Guilty   Neither    3/30/2020    IBC       053
13     03/19/2020/01:50   055 - Sexual Misconduct: Exposure               Guilty   Neither    3/25/2020    IBC       053
12     03/19/2020/01:20   055 - Sexual Misconduct: Exposure               Guilty   Neither    3/25/2020    IBC       053
11     01/02/2020/18:28   017 - Failure To Disperse                       Guilty   Neither    1/10/2020    IBC       053
10     01/04/2020/01:17   055 - Sexual Misconduct: Exposure               Guilty   Neither    1/10/2020    IBC       053
9      09/22/2019/04:30   057 - Sexual Misconduct: Words/Actions Of A     Guilty   Neither    10/7/2019    ECF       027
                          Sexual Nature
8      06/25/2019/16:35   008 - Assault And Battery- Staff Victim         Guilty   Neither    7/1/2019     ECF       027
7      01/15/2019/23:00   426 - INSOLENCE                                 Guilty   Neither    1/17/2019    ECF       099
6      12/30/2018/01:22   055 - Sexual Misconduct: Exposure               Guilty   Neither    1/10/2019    ECF       053
5      03/30/2018/02:52   055 - Sexual Misconduct: Exposure               Guilty   Neither    4/12/2018    ECF       053
4      08/25/2017/08:30   431 - POSSESSION OF MONEY                       Guilty   Neither    8/31/2017    ECF       099
3      08/12/2017/13:16   055 - Sexual Misconduct: Exposure               Guilty   Neither    8/24/2017    ECF       053
2      08/06/2017/09:30   427 - DESTRUCTION/MISUSE PROPERTY               Guilty   Neither    8/6/2017     ECF       099
Total Misconducts: 95




Offender Num: 369273
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